   Case 2:22-cv-04355-JFW-JEM Document 376-36 Filed 07/27/23 Page 1 of 4 Page ID
                                    #:26381
To: Ian Garner

 Way overslept*




 Oyoy


 Should Ibring some lunch




 What you feeling


                                                                               can -get 1 sandwich 'né*tddoi


 Cool sounds good, omw


                                                Fri, May 20 at 11:27 AM


 Christ overslept again sorry, I'll be On my way in just a sec




                                                 Fri, May 20 at 1:20 PM,




                                                 Fr!, May 20 at 5:22 PM




                                                Sat, May 21 at 12:59 AM.


 Ox45B5b71d3A359ac378A9f1eD3AF158CF16672A14


                                                 Sat, May 21 at 3:41 PM                Exhibit 126
                                                                                      Deponent: Ryder Ripps
                                                                                      Date: Snow-v 12. 2023
 Hey I'm sending anote to your email so Ican import OTC orders             '
                                                                                      CSR No 14125
 from Pauly's text to aspreadhseet


                                              13 apes to each waIte (80 total)t: 1).
                                              OxO9c7OC7f9Odd1O4fBfd1561836F6F9O218848D35
                                              2) 0x7eA6eO13Bd0b493EEf8CC962a958525de6879d3e
                                              3) Oxd1Db22O3f0f878f67eE7179Afc6b7A69311eEf89
                                              4) 0xf2Effb2000630FA5a4433ae51767a4d242a95O4A          1



                                              5) Ox5Ea2859Of4200874Bc97bO68f17EE978E1D9ca44
                                               LOx667DA4O2SO7IMF2d379F1cDe8E28aE4OCR3O2f




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                               RIPPSCAHEN00001289

                                               JTX-0126.00001
         Case 2:22-cv-04355-JFW-JEM Document 376-36 Filed 07/27/23 Page 2 of 4 Page ID
                                          #:26382
     To; Ian Garner




      Should've done these with the hexagonal border




      Cropped the border to be hexagonal on etherscan image pulls


                                                                               (lets work on the tex)t

                                                                               put it liii jóbblédó




                                                    Sun, May 22 at 10:31 AM


      I'm going to accept some random offers to get some eth for 1
      transactions

      Down to .03




      Iran the couple things you had in the washer with my stuff, is it cool
      if Iput your jeans in the dryer or do you want them air dried




      Dude we're gonna mint 1000 today this tool is bankers




      Foundation can't keep up haha


      I
      just hit abutton that logged me out of your computer
41


      Your main one Is still logged in


      Lmk If It would beak to use it to keep minting, Ican log out of
      kraken which appears to still be up

                                                                                            111111   e
     HIGHLY CONFIDENTIAL     -   ATTORNEYS' EYES ONLY                            RIPPSCAH EN0000 1290

                                                   JTX-0126.00002
    Case 2:22-cv-04355-JFW-JEM Document 376-36 Filed 07/27/23 Page 3 of 4 Page ID
To; Ian Garner
                                     #:26383
                                                                                                        030

Dude we're gonna mint 1000 today this tool is bonkers




Foundation can't keep up haha


I
just hit abutton that logged me out of your computer


Your main one is still logged in


Lmk if it would be ok to use it to keep minting, Ican log out of
kraken which appears to still be up


                                               Sun, May 22 at 3:46 PM


Ox63b41918611Becc6661E314a95FB52292423a7e8

0x4aE194318d948b51 Df8a508BF1F0A859bC4c57C2

0xOB3b6C4O99e3a8D8C19561F52248fF252DAcabBF


                                               Sun, May 22 at 9:45 PM


Lmk if there's anything else


                                                                    if uwant something In pasta besides steak 101


                                              Mon, May 23 at 9:46 AM.


Hey I'm at the market, you want acoffee?




Black drip? I'm getting an iced latte

Hazelnut




                                                                                                               e
HIGHLY CONFIDENTIAL    -   ATTORNEYS' EYES ONLY                                               RIPPSCAHEN0000I29I

                                              JTX-0126.00003
      Case 2:22-cv-04355-JFW-JEM Document 376-36 Filed 07/27/23 Page 4 of 4 Page ID
                                       #:26384
To: Ian Garner                                                               011




Sekou Lumumba®1j on Instagram: am
case the news hasn't reached you, at the
end of atour WI @daughtry last week, our...
instagrarn.com


                                              Mon, May 23 at 1:33 PM


                                                                                     need 10 for my dad


                                              Mon, May 23 at 2:34 PM


                                                        (oThD263954FAa7B37od6E518&d2dc5s992FfA47A


This is for your dad? I'll mint his now




Lmk if there're any specific ones




                                                                       Just start at agood one and go up




Gold?

Ok


Found asick run for him


Sent




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                              RIPPSCAHEN0000I292

                                               JTX-0126.00004
